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                                                     STATE OF AI-ARA]VIA
                                                 DEPARTMENT OF CORRECTIONS
                                                  MENTAL HilLTH SERVICES                                                 -:,2.


                                          RETERRAL TO MENTAL ETOALTH

         REASON FOR REFERRAL:
         D CnrSrs INTERvENTIoN
                   tr Family
                   B Problerrs with   other inmates:
                   O Recent
                   tr
        I   EVALUATIoN oF MENTAL STATUS
                   tr   Suicidal                           O Anxious                        D Physical Complaints
                   D Homicidal                             D Qepressed                      D SleepDisturbance
                   D Mutilating                            D Withdrarivn                   tr Hallucinatioas/Delusions
                   tr   Hostile,Angry                      O Poorhygiene                   D Suspicious
                   D Other inappropriate behavior:
       E msToRY oF PsYcEoTRoPIc MEDICATIoN PRIoR To INTAKE
       D RETERRAL TO 12 STEP PROGRAIVI OR WORICEOP(S) (list below)

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     Referred                            ts                        Phonc Contact#:
     O Referral for                       has been screened             health ormedical
     MENTAL     HEAI,TEFOLI€                                                   NTIDISPOSITION

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   Follow-Up by:

    InmdeName:          /tatcauT .3fu7*,tth&Zo                        Cell*                       JTIJ€Z
                                                                                       ^$*.
                                                                    Reference: ADOC AR 609, 612, 613
   Disposition: Inmate Medical Record                                                             , 614, 627 , 8g
                                                                              ADOC Fom Mll008-November 14,2005             -
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       Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page 15 of 32                                                     PageID #: 602
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                                                          STATE OF ALABAI\{A
                                                      DEPARTMENT OF CORRECTIONS
                                                        MENTAL I{EALTII SERVICES

                                             REYIBW OT' SEGREGATION IIYMATFS
  Date                                                                            Date Placed in Segregation              /a-/rc I lL
  I 30                                 DAYREVIEW                           M.H.   Code:              O
 ADOC          Psychologi@onducting                                                Review:
 MENTAL STATUS EXAMINATION:                                             Institution                    /loQ^o^,
  .4tred. I Anxiouyherrous E                   Flat      {4p'rrp*te                dwgcggLE            unkempt   !   lisorganizea   /,gpropriate
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                                                                                             &Thouehts:   rtor*rt ! Pressured ! Slurred
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                                                                                  )Ietrun: Short-term {E"rt E Poor
  Oiartotion: D      oisa*entea6xata             to time, place and per':son
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 BEHAVIORAL OBSERVATIONS :
  E    AsgrcrNive                   E Irrrdond                        tr h!d"E                            I Prnnoie
  tr Aciteted                       tr Sutddelidation                 Uf Rrdmd                            ! froeractivitv
  LJ   Ir€lusiond                   u l€CntrEic                        u crylIq                           u lIrllncmrutrg
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  E Feerful                         {Qrln                              E Othen
COMMENTS:
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RECOMMEIYDATIONS:
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         tr RETERRED TOR PSYCEIA'IRIC EVAIIIATION
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 Irmde Name:         Y           o-**          <*^             --gn                                Ars# 2.,12a 92,
Disposition: Inmsfs Medical                                        File,Reference:                                   ADOC &523,_625,635
Cental Records File                                                                                 ADOC Form    Mll039-     November 14,20f.5

                                                                                                CONFIDENTIAL & PRIVILEGED
                                                                                               ,Quality Improvement Information


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     Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page 16 of 32                                                                     PageID #: 603


                                                             STATE OF ALABAMA
                                                         DEPARTMENT OF CORRECTIONS
                                                           MENTAL HEALTH SERVICES

                                                REVIEW OF SEGREGATION INMATES
         Review Completed:                                                      Date Placed in Segregation:                             itutftl lh
"tr, DAY REVIEW I 90 DAY REVIEW                                           M.FL Code:                       o
ADOC Psychologi s@onducting                                                         Review:
MENTAL STATUS                                      ATTON:                Institution:

 .4ffect:      n ^{mious/nertous            D      Fht       .Z/tpprrp.iut.         ,figclgtg-D               Unkempt      !   Disorganizerl ./tppropriut

  Concatrurrton:      ,dro.or.o n              Distracte<l                          Intellectn   al     Fuuctionirrs:     t\   ormal    !   BorderlineE Retarded

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                                                                                    -lleuron': Short-term                           !   Poor
 Oientation:      J   Disoriented       Oriented to time, place and person
                                                                                                  Long-term                Good     !   Poor

BEHAVIORAL OBSERVATIONS:
 E Asressive                            D Irrational                     E Bssive                                 D Paranoia
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 D Delusional                           0 I-ethargic                     D Crying                                 !   Eallucinating
 E EyeContact                           I   Irose Associations           D Withdrawn                              U lVlanioulative
 U F'eartuI                             I   Calm                         D Othen
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RECOMMENDATIONS:
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        D  SEGREGATION PLACEMENT IMPACTING INMAIE'S MENTAI. EEALTH
        tr REEERRED FOR PSYCEIATRIC EVALUATION
        E Other:


 Tnmefe Name:
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                                               5                                                        AIS#
Disposition: Tnmate Medical Recod,                                    File ,Reference                                    ADOC AR 623, 625,635
Ceirtal Records File                                                                                          OC Form MI+039 - Nove,mber 14,2005
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            Page 86                                                                                                                          Exhibit L
         Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page 17 of 32                                                                   PageID #: 604


                                                                   STATE OF ALABAMA
                                                               DEPARTMENT OF CORRECTIONS
                                                                 MENTAL HEALTT{ SERVICES

                                                REVIEW OF SEGREGATION INi\{ATES
    Date Review Completed                                                            Date Placed in Segregation:                                 3
    [ 30 DAY REVIEW T"9O DAY REVIEW                                           M.H.   Code: O
 ADOC          P   sychologi    s@onducting
 MENTAL STATUS EXAMINATION:                                                  Institution:

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BEHAVIORAL OBSERVATIONSI
    !   AggressiYe                      !   Irratioaal                       E Plesive                          I   Paranoia
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    I   Delusional                      !   I*thargic                        ! Crying                           E Hailucinating
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          tr SEGRIGATION PLACEMENT IMPACTING IN]I{ATE'S MENTAL TTF-ALTIT
          IREFERREDFORPSYCruA-TRICEVALUATION
          !   Other:


 rnmare Name:
                          ',tl";- -t- -5.n tzoror-L,o                                                 Ars   # 2. 9e 4a ',]

Disposition: Tnmate Medical                                               File,Reference:                            ADOC AR 623, 625,635
Cental Records File                                                                                     ADOC Form MIl039 - November 14, 2005




              Page 87                                                                                                                         Exhibit L
Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page 18 of 32                                  PageID #: 605



      W                                                     RELEASE OF RESPONSTBILITY



                                                                           t-              tLlf
      Name of lnmate                                           Date/Time




      lnmate lD Number / Date of Birth



      I hereby refuse to accept the following treatmenUrecommendations:



                             A-lntt

     I acknowledge I have been fully informed of and understand the above treatments or recommendations and
     the risk(s) involved in refusing. I hereby release and agree to hold harmless Corizon Health, lnc., its
     employees and agents from all responsibility and ill effect, which may result from this action.



      fr     ,r,{*+                                              \"JL tnl               rr.{5
                                                              Dateffime



     Witness

    The aforementioned inmate has refused the listed medicaltreatmenUrecommendations            and has refused to

    sign this form.


    Witness



    Witness



    Date/Time



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  lssued 2/2'll09                         Revised 1112015                         ADOC 010-'127-004 -reviewed   01   2109


  Page 88                                                                                           Exhibit L
Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page 19 of 32                                 PageID #: 606



       W                                                      RELEASE OF RESPONSIBILITY



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      Name of lnmate                                             Dateffime

      ilzztz-/
      lnmate lD Number/ Date of Birth



                        accept the following treatmenVrecommendations:




     I acknowledge I have been fully informed of and understand the above treatments or recommendations and

     the risk(s) involved in refusing. I hereby release and agree to hold harmless Corizon Health, lnc., its
     employees and agents from all responsibility and ill effect, which may result from this action.



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     lnmate Signature                                           Date/Time

                      U,J
    Witness

    The aforementioned inmate has refused the listed medicaltreatmenUrecommendations and has refused to
    sign this form.


    Witness



   Witness



   Dateffime


                                                                      Juality Improvement Information

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  Page 89                                                                                           Exhibit L
Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page 20 of 32                                PageID #: 607


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                                                                                     lzollz 0 lusS
       Name of lnmate                                              Dateffime



       lnmate lD Number / Date of Birth



      I hereby refuse to accept the following treatmenUrecommendations:


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      I acknowledge I have been fully informed of and understand the above treatments or recommendations and

     the risk(s) involved in refusing. I hereby release and agree to hold harmless Corizon Health, lnc., its
     employees and agents from all responsibility and ill effect, which may result from this action.



                                                                     3o                         /rpS
                                                                  Date/Time




    The aforementioned               refused the listed medical treatmenUrecommendations and has refused to


                        t
    Witness



   Witness



   Date/Time




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   Page 90                                                                                         Exhibit L
Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page 21 of 32                                 PageID #: 608



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     Name of lnmate                                           Dateffime

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     lnmate lD Number / Date of Birth



    I hereby refuse to accept the following treatmenUrecommendations:




    I acknowledge I have been fully informed of and understand the above treatments or recommendations and

    the risk(s) involved in refusing. I hereby release and agree to hold harmless Corizon Health, lnc., its
    employees and agents from all responsibility and ill effect, which may result from this action.




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   The aforementioned           has refused the listed medicaltreatmenUrecommendations         and has refused to
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Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page
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     W                                                        RELEASE OF RESPONSIBILITY



                      Jan                                           1
     Name of lnmate                                             Dateffime



     lnmate lD Number / Date of Birth



                      to accept the following treatmenUrecommendations:




    I acknowledge I have been fully informed of and understand the above treatments or
                                                                                       recommendations and
                                                                                                    lnc., its
    the risk(s) involved in refusing. I hereby release and agree to hold harmless Corizon Health,
    employees and agents from all responsibility and ill effect, which may result from this action'



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    Tvtqn u uq3
    Witness

    The aforementioned inmate has refused the listed medicattreatmenUrecommendations             and has refused to

    sign this form.


    Witness



    Witness



    Date/Time



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                                                                        r]uality Improvement informa r,,,,
                                                                                   o 2015 Conzon Health, lnc.
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Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page 23 of 32                                 PageID #: 610



      ffi                                                 RELEASE OF RESPONSIBILITY


        (
                                          o                  I               l
     Name of lnmate                                          Date/Time



     lnmate lD Number/ Date of Birth



                 refuse    accept the       treatmenUrecommendations:

                                                                         f




     I acknowledge I have been fully informed of and understand the above treatments or re@mmendations and

    the risk(s) involved in refusing. I hereby release and agree to hold harmless Corizon Health, lnc., its
    employees and agents from all responsibility and illeffect, which may result from this action.



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    Witness

    The aforementioned inmate has refused the listed medicaltreatmenUrecommendations and has refused to
   sign this form.


   Witness



   Witness



   Date/Time

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          Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page 24 of 32                                                               PageID #: 611

                                                                       Alabama Department of Corrections                                          @
                                                                  Health Services Communication Form
                                                                       (Medical, Dental, Mental Health)



               lnmate Name
                            fiu{*                                                                                 L'lng'?- I
                                                                                                                     Ats #                            of Birth

                           Restriction:
                                                                                                      Start   Date:_                Stop Date:

                           Limitations:

                                                                                                    Start                           Stop Date:
                        Bottom Bunk. StopDate:



              7         Stop

                        Other:
                                 Up andlor            Lay ln

                                                           bmr
                                                                   (circle one or both)




             Other lnmate lnstruction (include starVstop date if indicated):
                                                                                                    Start Date:

                                                                                                    Start
                                                                                                                                   Stop Date:

                                                                                                                                   Stop Date:     w          'l




                                                  &/  (Printed Name)
                                                                                          (^/                     t/Ctt-
                                                                                                               Health Division
                                                                                                                                                rbrlt
                                                                                                                                                 Date



            Notice to ADOC:

tecunty
                      Watch Housing           Required:            Crisis   Cell            Safe Cell             Other:

                      lnfirmary Placement Required. Location:

                      Sheltered Housing Requested. Location:

                     Other Requested:

                     Response to Security Request to Review Prior to Restrictive Housing of lnmate:

                     Special Precautions:

                     Special !nstructions:



          Health Professional                       (Signature)                                                   Title                        Date                   i




                                                                                                                                                                  I
          ADOC- Office of Health Services;2014
                                                                                       lnstitution:                             & PRIVILEGEI}                     I



          Form A-9 (b)                                                                                                                                            i



          Original (ln page)   - file in Health   Record             Copy (2nd page)             Commander        perforated portion (3d page)                    I
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              Page 94                                                                                                                       Exhibit L
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      Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page 25 of 32                                           PageID #: 612



                                                                 ADOC

                                                        DEPAFTMENT OF CORRECTIONS

                                   RECEIPT OF MEDICAL EQUIPMENT/APPLIANCE FORM


               t,                         o         I                                                  17rL8L
                          (Print                                                                       (Doc#)


           acknowledge receipt of lhe following medical equipment or appliance:



           (          )     Splint

           (          )     Eyeglasses

           (          )     Dentures

           (          )     Prothesis    descdbe

           (          )    Wheelchair




                    t
           (          )    Cane

           (

           (
                           Crutches

                           Other         describe       ln* hrar*-
           I acknowledge that the equipmenUappliance is functional for my use.

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                                                                              (Date)




    TNMATE NAME (LAST, FTRST, MTDDLE)                                         DOC#               DOB                                FAC.


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                                                                              CONFIDENTIAL
                                                                                                   & PRIVILEGET}
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               Page 95
ADOC A,L-70005-CMS Receipt of Medical Equipment                               (White   -   Medical File, Yellow
                                                                                                                    Exhibit L
                                                                                                                  - Security Property Officer)
Case 1:17-cv-00110-CG-B Document 31-15 Filed 09/14/17 Page 26 of 32                                    PageID #: 613



      cruwr                                                RELEASE OF RESPONSIBILITY



  \nnu6                   !an{c* 'rg\ o s t *[                            \   r,"r
                                                              Date/Time




    "r"tl5".
      lnmate lD Number/ Date of Birth



     I hereby refuse to accept the following treatmenUrecommendations:




     I acknowledge I have been fully informed of and understand the above treatments or recommendations and

    the risk(s) involved in refusing. I hereby release and agree to hold harmless Corizon Health, lnc., its
    employees and agents from all responsibility and ill effect,   -'l[';;\i)l'.'"


    Witness

    The aforementioned inmate has refused the listed medicaltreatmenUrecommendations               and has refused to
    sign this form.


   Witness



   Witness



   Date/Time



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     W                                                     RELEASE OF RESPONSIBILITY                                             "1
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     Name of lnmate                                          Dateffime

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     I hereby refuse to accept the following treatmenurecommendations:

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     I acknowledge I have been fully informed of and understand the above treatments or recommendations
                                                                                                        and

    the risk(s) involved in refusing. I hereby release and agree to hold harmless Corizon Health, lnc., its
    employees and agents from all responsibility and ill effect, which may result from this action.


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                   $'m-0^\
    The aforementioned inmate has refused the listed medicaltreatmenUrecommendations           and has refused to

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